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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                 BALTIMORE DIVISION

A.M., A MINOR, BY HER PARENT AND
NEXT FRIEND, OPRAH COOPER, JR.,
F/K/A ODA HAKORIMANA
1834 CARL COURT, APT. #14
LOUISVILLE, KY 40215                                 Case No.
                                                     Judge:
                    Plaintiffs,

v.

VIRGINIA COUNCIL OF CHURCHES,
INC.

Serve:

     PHILIP H GOODPASTURE
     200 SOUTH 10TH STREET, SUITE 1600
     P.O. BOX 1320
     RICHMOND VA 23218

~and~

CHURCH WORLD SERVICE, INC.

     Serve:

 JOANNE RENDALL
 c/o Church World Service, Inc.
 28606 PHILLIPS Street
ELKHART, IN 46514

                    Defendants.

                                        COMPLAINT

              Now comes the Plaintiff, A.M., by her parent and next friend, OPRAH COOPER,

JR., f/k/a ODA HAKORIMANA, by and through her attorneys, JEFFREY A. SEXTON

and JOHN BYRNES, and in complaining against Defendants, VIRGINIA COUNCIL OF
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CHURCHES and CHURCH WORLD SERVICE, pleading hypothetically and in the

alternative, states as follows:

                                          PARTIES

        1.       Defendant VIRGINIA COUNCIL OF CHURCHES (VCC) is a Virginia

corporation with a principal office address of 1214 WEST GRAHAM ROAD,

RICHMOND, VA 23220. It is a local resettlement affiliate of Church World Service (CWS),

with which the U.S. government’s Department of State has cooperative agreements for

refugee resettlement.

        2.       Defendant CHURCH WORLD SERVICE, INC. (CWS) is a New York

corporation with a principal office address of 475 RIVERSIDE DRIVE, SUITE 678

NEW YORK, NEW YORK 10115 and another office at 28606 PHILLIPS STREET, P.O.

BOX 968, ELKHART, IN 46515 with a registered agent named Joanne Rendall listed. No

registered agent is listed with the New York Secretary of State. CWS operates its Church

World Service Immigration and Refugee Program (IRP) which prepares the case files for all

refugees in sub-Saharan Africa who are being considered for resettlement in the United

States through a Cooperative Agreement with the Department of State/Bureau for

Population, Refugees, and Migration.

        3.       A.M., minor (Exhibit 1 hereto), is a resident of Louisville, Kentucky, and was

born in the United States of America on May 15, 2007, to her mother, OPRAH COOPER,

JR., f/k/a ODA HAKORIMANA. A.M. is permanently mentally disabled.

        4.       A.M.’s mother and siblings are refugees from Tanzania re-settled in the

U.S.A. by Defendants VCC and CWS under the CWS IRP described above in paragraph 2.



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See also Exhibit 5 hereto, page 16, lines 7-14 of deposition of Mary Beth Alphin taken April

13, 2011.

       5.      CWS receives funding from the U.S. government to operate its IRP.

       6.      VCC, as a local resettlement affiliate of CWS, received 17.53% of its 2006-

2007 revenue from CWS according to its website (see Exhibit 2 hereto).

       7.      As a result of receiving funding from the U.S. government, both CWS and

VCC qualify as persons who were acting under color of any statute, ordinance, regulation,

custom, or usage, of any State or Territory for purposes of 42 U.S.C. §1983.

                         JURISDICTION AND VENUE

       8.      This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343

over Plaintiff’s cause of action arising under the Constitution of the United States and 42

U.S.C. § 1983. This Court has supplemental jurisdiction over plaintiff’s causes of action

arising under Maryland state law pursuant to 28 U.S.C. § 1367.

       9.      Venue lies in the United States District Court for the District of Maryland

because all acts complained of took place in Maryland.

       10.     A.M., a minor, was an infant of approximately five (5) months of age and by

her mother was placed contractually with Maryland licensed daycare provider Jessica V.

Rodriguez (“Rodriguez”) on October 25, 2007, at her home daycare located at 18202

Roycroft Drive, Hagerstown, Maryland 27140.

       11.     Laura Abaandou (“Abaandou”), an employee and agent of VCC, found the

daycare operated by Rodriguez (see attached Exhibit 3, page 7, et seq. from deposition of

Laura Abaandou taken April 13, 2011) and referred A.M.’s mother to said daycare.



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        12.     VCC’s agent and employee, Abaandou, visited the Rodriguez daycare

(Exhibit 3, page 9) prior to A.M. attending and undertook a legal duty to ascertain whether

the daycare was being operated in compliance with Maryland state laws, rules and

regulations, specifically Maryland Code Annotated, Family Law Article §5-570, et seq., and

Maryland Code Annotated, Insurance section, §19-202 (as in effect 2007) (Exhibit 4 hereto).

        13.     VCC’s agent and employee, Abaandou, admitted (Exhibit 3, page 9, lines 11-

13) that she did not confirm whether the daycare had insurance in conformity with Maryland

Code Annotated, Insurance section, §19-202 (as in effect 2007) (Exhibit 4).

        14.     VCC’s agent and employee, Abaandou, admitted (Exhibit 3, page 9, lines 17-

19) that she received no training or guidance from her employer, VCC, as to how to properly

conduct an onsite investigation of the Rodriguez daycare or what questions to ask of

Rodriguez.

        15.     Mary Beth Alphin of VCC was Abaandou’s supervisor (Exhibit 3, page 10,

lines 1-9).

        16.     On October 25, 2007, a heinous act occurred within the confines of the

Rodriguez daycare and A.M., minor, who was otherwise normal from birth until this day,

suffered severe injuries to her neck, skull, brain, face and eyes (Exhibit 6 hereto), as a direct

and proximate result of the actions of either of Rodriguez or her boyfriend, Randy Rosaio

(“Rosaio”), whom Rodriguez permitted to have access to A.M. for several hours, according

to the results of an extensive Maryland law enforcement investigation.

        17.     As a direct and proximate result of the actions of Rodriguez and/or Rosaio

inside the daycare on October 25, 2007, medical providers and medical experts diagnosed

A.M. with—in short—“shaken baby syndrome” and A.M. was caused to suffer severe and

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permanent damage to her brain and to the rest of her body, severe pain and suffering, and

will live in a permanent state of mental and physical impairment for the remainder of her

days and will incur substantial past and future medical expenses.

        18.     As a direct and proximate result of the failure of CWS to properly train and

supervise VCC as a local resettlement affiliate to whom it was providing direct financial

support, and as a direct and proximate result of the failure of VCC to properly train and

supervise its employee and agent, Abaandou, to properly ascertain and confirm whether the

Rodriguez daycare was insured pursuant to Maryland Code Annotated, Insurance section,

§19-202 (as in effect 2007) (Exhibit 4), before referring A.M., minor, to said daycare, A.M.,

minor, has incurred substantial financial harm in the form of past medical expenses and will

incur substantial future medical expenses without the ability to seek legal redress against a

homeowners liability policy of the Rodriguez daycare.

                            COUNT I —42 U.S.C. §1983

        19.     Plaintiff hereby adopts and re-alleges paragraphs 1 through 18 as and for

paragraphs 1 through 18 of Count I as though fully set forth herein.

        20.     Plaintiff claims damages under 42 U.S.C. §1983 for her past and future

financial injuries set forth above against Defendants CWS and VCC for violation of her

constitutional rights under color of law, including, but not limited to, breach of the duties of

both Defendants CWS and VCC to follow, have procedures in place to ensure compliance

by their respective agents and employees with, and have procedures in place to ensure

compliance by service providers (like Rodriguez’ daycare) selected by each on behalf of

resettled refugees with Maryland Code Annotated, Family Law Article §5-570, et seq., and

Maryland Code Annotated, Insurance section, §19-202 (as in effect 2007) (Exhibit 4 hereto).

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        21.     As a direct and proximate result of the aforementioned breach of duties, inter

alia, Plaintiff has suffered and will in the future suffer significant financial harm in an amount

to be determined by a jury.

                                          COUNT II
                               Failure to Train and Supervise

        22.     Plaintiff hereby adopts and re-alleges paragraphs 1 through 21 as and for

paragraphs 1 through 21 of Count II as though fully set forth herein.

        23.     CWS negligently failed to properly train and supervise VCC, as its local

resettlement affiliate, with respect to evaluating and selecting childcare for refugees at

facilities such as Rodriguez’ daycare and, specifically, whether Rodriguez was compliance

with Maryland Code Annotated, Family Law Article §5-570, et seq., and Maryland Code

Annotated, Insurance section, §19-202 (as in effect 2007) (Exhibit 4 hereto).

        24.     As a direct and proximate result of the aforementioned breach of CWS’ duty

to train and supervise, Plaintiff has suffered and will in the future suffer significant financial

harm in an amount to be determined by a jury.

                                         COUNT III
                               Failure to Train and Supervise

        25.     Plaintiff hereby adopts and re-alleges paragraphs 1 through 24 as and for

paragraphs 1 through 24 of Count III as though fully set forth herein.

        26.     By Abaandou’s own admission (see Exhibit 3 hereto, page 9, lines 17-19,

from deposition of Laura Abaandou taken April 13, 2011), VCC negligently failed to

properly train and supervise its agent and employee, Laura Abaandou, with respect to

evaluating and selecting childcare for refugees at facilities such as Rodriguez’ daycare and,

specifically, whether Rodriguez was in compliance with Maryland Code Annotated, Family

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Law Article §5-570, et seq., and Maryland Code Annotated, Insurance section, §19-202 (as in

effect 2007) (Exhibit 4 hereto).

        27.     As a direct and proximate result of the aforementioned breach of VCC’s duty

to train and supervise, Plaintiff has suffered and will in the future suffer significant financial

harm in an amount to be determined by a jury.

                                          COUNT IV
                                    Respondeat Superior

        28.     Plaintiff hereby adopts and re-alleges paragraphs 1 through 27 as and for

paragraphs 1 through 27 of Count IV as though fully set forth herein.

        29.     Defendant CWS is vicariously liable for negligent acts committed against

Plaintiff by VCC. VCC was CWS’ local resettlement agent under its IRP and CWS funded

17.53% of VCC’s 2006-2007 Revenue by VCC’s own admission.

        30.     As a direct and proximate result of the aforementioned negligence, Plaintiff

has suffered and will in the future suffer significant financial harm in an amount to be

determined by a jury.

                                          COUNT V
                                    Respondeat Superior

        31.     Plaintiff hereby adopts and re-alleges paragraphs 1 through 30 as and for

paragraphs 1 through 30 of Count V as though fully set forth herein.

        32.     Defendant VCC is vicariously liable for negligent acts committed against

Plaintiff by VCC’s agent and employee, Laura Abaandou.

        33.     As a direct and proximate result of the aforementioned negligence, Plaintiff

has suffered and will in the future suffer significant financial harm in an amount to be

determined by a jury.

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                                         COUNT VI
                                         Negligence

        34.     Plaintiff hereby adopts and re-alleges paragraphs 1 through 33 as and for

paragraphs 1 through 33 of Count VI as though fully set forth herein.

        35.     Defendants CWS and VCC and VCC’s agent and employee, Laura

Abaandou, owed Plaintiff a duty of care to prevent the financial harm she has suffered and

will continue to suffer.

        36.     Defendants CWS and VCC and VCC’s agents and employees, such as Laura

Abaandou, explicitly undertake said duty when voluntarily becoming involved in the

resettlement of refugees such as Plaintiff and her immediate family in the United States and,

by Abaandou’s own admission, assist such non-English speaking refugees finding medical

care, health insurance, housing, transportation and childcare, inter alia. (See attached Exhibit

3, page 7, et seq. from deposition of Laura Abaandou taken April 13, 2011).

        37.     VCC’s agent and employee, Abaandou, further undertook said duty of care

owed to Plaintiff by visiting and inspecting Rodriguez’ daycare prior to Plaintiff’s enrollment

(see attached Exhibit 3, page 8, line 25, through page 9, lines 1-10, from deposition of Laura

Abaandou taken April 13, 2011) because Plaintiff’s mother only spoke French and was

unable to care for her Plaintiff daughter by communicating with Rodriguez with respect to

the (very unfamiliar, no less) legal requirements of operating a daycare in Maryland.

        38.     VCC’s agent and employee, Abaandou, breached said duty owed to Plaintiff

by her own admission (Exhibit 3, page 9, lines 11-16) from deposition of Laura Abaandou

taken April 13, 2011) when she did not confirm if Rodriguez’ daycare had insurance




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pursuant to Maryland Code Annotated, Family Law Article §5-570, et seq., and Maryland

Code Annotated, Insurance section, §19-202 (as in effect 2007) (Exhibit 4 hereto).

       39.     As a direct and proximate result of the aforementioned breach, Plaintiff has

suffered and will in the future suffer significant financial harm in an amount to be

determined by a jury.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests this Court:

       A.      Enter judgment in favor of Plaintiff and against Defendants;

       B.      Award Plaintiff compensatory and punitive damages against Defendants;

       C.      Award Plaintiff’s counsel reasonable attorneys’ fees and costs pursuant to 42

U.S.C. § 1983, 42 U.S.C. § 1988, and any other applicable provisions of law;

       D.      Grant to Plaintiff such other and further relief as may be just and proper

under the circumstances, including but not limited to appropriate injunctive relief.

                                 JURY TRIAL DEMAND

       Plaintiff demands a jury trial, pursuant to the Seventh Amendment to the

Constitution of the United States, as to all claims for damages.

Dated: February 3, 2020




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                                   Respectfully submitted,



                                   PAULSON & NACE, PLLC


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                        CERTIFICATE OF GOOD STANDING

       In accordance with Maryland Rule 1-313, I hereby certify that I am a member in

good standing of the Maryland Bar and licensed to practice law in the State of Maryland with

an office address in the District of Columbia.



                                                 _/s/ Christopher T. Nace______________
                                                 Christopher T. Nace, Esq.




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